 Case 23-10961-BLS   Doc 249-2   Filed 09/01/23   Page 1 of 2




      EXHIBIT B TO SUPPLEMENTAL CURE NOTICE

SCHEDULE OF CURE COSTS AND TRANSFERRED CONTRACTS
                                                      Case 23-10961-BLS                Doc 249-2    Filed 09/01/23      Page 2 of 2
In re Williams Industrial Services Group, Inc. et al. , No. 23-10961-BLS
Non-debtor Counterparty                              Debtor Counterparty                           Description                                                   Cure Costs
Aries Building Services                              Williams Plant Services, LLC                  Mobile Office Unit                                                         $0.00
HDS White Cap Construction Supply                    Williams Plant Services, LLC                  Materials                                                                  $0.00
Hudson Elevator Group                                Williams Specialty Services, LLC              Elevator Install                                                           $0.00
Maxim Crane Works, LP                                Williams Plant Services, LLC                  Crane Rental                                                               $0.00
EAN Services, LLC                                    Williams Industrial Services Group, L.L.C.    Car and Truck Rental Agreement                                             $0.00
EAN Services, LLC                                    Williams Industrial Services Group, L.L.C.    Amendment to Car and Truck Rental Agreement                                $0.00
Herc Rentals Inc.                                    Williams Industrial Services Group, L.L.C.    Equipment and Machine Rental Agreement                                     $0.00
Sunbelt Rentals, Inc.                                Williams Industrial Services Group, L.L.C.    Partnership Agreement & Volume Allowance Schedule                          $0.00
Sunbelt Rentals, Inc.                                Williams Industrial Services Group, L.L.C.    Amendment No. 1 to Partnership Agreement & Volume Allowance                $0.00
                                                                                                   Schedule
Sunbelt Rentals, Inc.                               Williams Industrial Services Group, L.L.C.     Single Shift Rental Rates -12/31/2023                                      $0.00
United Rentals (North America), Inc.                Williams Industrial Services Group, L.L.C.     VIP Schedule to National Agreement                                         $0.00
